
PER CURIAM.
Affirmed. See § 59.041, Fla. Stat. (2003); Bradley v. State, 787 So.2d 732, 743-44 (Fla.2001); Murphy v. Int’l Robotic Sys., Inc., 766 So.2d 1010, 1028-29 (Fla.2000); State v. Jano, 524 So.2d 660, 661-62 (Fla.1988); Bell v. State, 847 So.2d 558, 560-61 (Fla. 3d DCA 2003); Pino v. State, 776 So.2d 1081 (Fla. 3d DCA 2001).
GREEN, J., and BARKDULL, THOMAS H., JR., Senior Judge, concur.
